
These are cross appeals from a judgment in the Court of Claims in favor of the claimant respondent-appellant against the State of New York for the sum of $40,389.78. The State appeals from each and every part of the said judgment while the claimant appeals solely upon the ground of the insufficiency of the same. The record supports the decisions and findings of the court. Judgment appealed from affirmed, with costs against the State in favor of the claimant. (Turner Constr. Co. V. State of New York, 253 App. Div. 784, affd. as mod. 279 N. Y. 243; Collins v. State of New York, 259 N. Y. 200; Borough Constr. Co. V. City of New York, 200 N. Y. 149,153.) All concur. [See post, p. 935.]
